Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
07/17/2020 08:07 AM CDT




                                                      - 169 -
                               Nebraska Supreme Court Advance Sheets
                                        306 Nebraska Reports
                        CANDYLAND, LLC v. NEBRASKA LIQUOR CONTROL COMM.
                                          Cite as 306 Neb. 169



                        Candyland, LLC, a Nebraska limited liability
                       company, doing business as “Kandi’s,” appellant,
                          v. Nebraska Liquor Control Commission,
                            an agency of the State of Nebraska,
                                      et al., appellees,
                                                  ___ N.W.2d ___

                                        Filed June 19, 2020.    No. S-19-535.

                 1. Judgments: Jurisdiction: Appeal and Error. Determination of a juris-
                    dictional issue which does not involve a factual dispute is a matter of
                    law which requires an appellate court to reach its conclusions indepen-
                    dent from a trial court.
                 2. Administrative Law: Liquor Licenses: Parties: Words and Phrases:
                    Appeal and Error. Under the Nebraska Liquor Control Act, the defi-
                    nition of “party of record” in Neb. Rev. Stat. § 53-1,115(4) (Cum.
                    Supp. 2018) controls for purposes of the Administrative Procedure
                    Act’s requirement that all parties of record shall be made parties to
                    the proceedings for review in a review of the Nebraska Liquor Control
                    Commission’s proceedings.
                 3. Administrative Law: Jurisdiction: Appeal and Error. For a district
                    court to acquire jurisdiction to review a final decision of an administra-
                    tive agency under the Administrative Procedure Act, the appellant must
                    file the petition and serve summons.
                 4. Administrative Law: Service of Process: Time. Service on nongovern-
                    mental entities under Neb. Rev. Stat. § 84-917(2)(a)(i) (Reissue 2014) is
                    required within 30 days of the filing of the petition.

                  Appeal from the District Court for Lancaster County: Jodi
               L. Nelson, Judge. Appeal dismissed.
                 Kyle J. McGinn and William F. McGinn, of McGinn,
               Springer &amp; Noethe, P.L.C., for appellant.
                             - 170 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
     CANDYLAND, LLC v. NEBRASKA LIQUOR CONTROL COMM.
                       Cite as 306 Neb. 169
  Douglas J. Peterson, Attorney General, Milissa Johnson-
Wiles, and James Smith, Solicitor General, for appellees.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Papik,
and Freudenberg, JJ.
  Per Curiam.
                      NATURE OF CASE
   Candyland, LLC, applied to the Nebraska Liquor Control
Commission (Commission) for a retail Class C liquor license.
After the Omaha City Council recommended denial and hun-
dreds of “Protestants, Citizen Objectors, and Interested Parties”
appeared in person or by writing before the Commission,
the Commission denied Candyland’s application. Candyland
attempted to appeal the order of the Commission to the dis-
trict court for Lancaster County under the Administrative
Procedure Act (APA). Candyland did not believe that the citi-
zen objectors were necessary parties and did not serve sum-
mons on the citizen objectors. Subsequently, the district court
found that Candyland had not served “[a]ll parties of record”
as required by Neb. Rev. Stat. § 84-917(2)(a)(i) (Reissue
2014) of the APA and dismissed the petition for review for
lack of subject matter jurisdiction. Candyland filed a motion
for a new trial, which was denied. Candyland appeals the
district court’s orders in which it dismissed the petition and
denied the motion for new trial. We conclude the district
court did not err. The district court lacked subject matter
jurisdiction under the APA, and likewise, we lack jurisdiction.
Accordingly, we dismiss this appeal.
                   STATEMENT OF FACTS
   On June 18, 2018, Candyland applied to the Commission for
a retail Class C liquor license for a business on Blondo Street
in Omaha, Douglas County, Nebraska. In July, the Omaha
City Council conducted a hearing on Candyland’s application
and approved a resolution that recommended it be denied.
The case proceeded to the Commission, which held a hearing
                             - 171 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
     CANDYLAND, LLC v. NEBRASKA LIQUOR CONTROL COMM.
                       Cite as 306 Neb. 169
on the application on October 10. Hundreds of “Protestants,
Citizen Objectors, and Interested Parties” appeared in person
or by writing for the Commission hearing. On October 29, the
Commission denied Candyland’s application.
   On November 15, 2018, pursuant to the APA, Candyland
filed a petition on appeal in the district court for Lancaster
County. The petition named as respondents the Commission,
the City of Omaha, and the hundreds of “Protestants, Citizen
Objectors, and Interested Parties.” On the same day, Candyland
filed a “Motion for Service by Publication on Respondent
Protestants and Citizen Objectors.” Candyland served sum-
mons on the Commission and the City of Omaha.
   On December 14, 2018, the district court held a hearing on
Candyland’s motion for service by publication. The district
court overruled the motion, evidently indicating that citizen
objectors were not necessary parties to the case.
   On May 3, 2019, the district court dismissed Candyland’s
petition for lack of subject matter jurisdiction. It found that
Candyland had failed to obtain service of summons on the
citizen objectors, without which there could be no jurisdiction.
The court rejected Candyland’s argument that the volume of
citizen objectors would have made individual service onerous.
The court noted that it was undisputed that none of the indi-
viduals had been served but acknowledged in a footnote that
it had previously erred when it had observed that the citizen
objectors were not necessary parties.
   Candyland appeals.

                ASSIGNMENTS OF ERROR
   In its appeal from the district court, Candyland assigns,
summarized and restated, that the district court erred when
it (1) denied Candyland’s motion for service by publica-
tion and dismissed its petition for failure to obtain service;
(2) concluded that citizen objectors were parties of record
and necessary to vest subject matter jurisdiction; and (3)
required Candyland to serve citizen objectors, thereby denying
                             - 172 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
     CANDYLAND, LLC v. NEBRASKA LIQUOR CONTROL COMM.
                       Cite as 306 Neb. 169
Candyland access to courts, in violation of Neb. Const. art. I,
§ 13. For purposes of our analysis, we consider Candyland’s
assignments of error in reverse order.
                  STANDARDS OF REVIEW
   [1] Determination of a jurisdictional issue which does not
involve a factual dispute is a matter of law which requires an
appellate court to reach its conclusions independent from a trial
court. Retroactive, Inc. v. Nebraska Liquor Control Comm.,
298 Neb. 936, 906 N.W.2d 328 (2018).
                           ANALYSIS
   In this case, the district court determined that it lacked
subject matter jurisdiction because Candyland had not served
citizen objectors. The district court dismissed the petition.
As explained below, we agree with the district court’s ruling.
Where the district court lacked subject matter jurisdiction, we
likewise lack jurisdiction and dismiss Candyland’s appeal. See
In re Estate of Evertson, 295 Neb. 301, 889 N.W.2d 73 (2016).
Candyland Did Not Preserve Its Constitutional
Challenge to § 25-508.01.
   In the September 19, 2019, order by which this case was
moved to this court’s docket, we noted that the constitutional
issue raised by Candyland’s third assignment of error, regard-
ing Neb. Rev. Stat. § 25-508.01 (Reissue 2016), had not been
preserved. Accordingly, as we previously concluded, we do not
consider Candyland’s constitutional challenge.
Citizen Objectors Are Parties of Record
Who Should Be Served.
   [2] Candyland contends that citizen objectors were not
parties necessary to confer jurisdiction on the district court.
We reject this argument. “Parties of record” who must be
served under the APA is defined solely based on statute. See,
§ 84-917(2)(a)(i); Retroactive, Inc. v. Nebraska Liquor Control
Comm., supra; Kozal v. Nebraska Liquor Control Comm.,
297 Neb. 938, 902 N.W.2d 147 (2017). Recently, we held
                               - 173 -
          Nebraska Supreme Court Advance Sheets
                   306 Nebraska Reports
     CANDYLAND, LLC v. NEBRASKA LIQUOR CONTROL COMM.
                       Cite as 306 Neb. 169
that under the Nebraska Liquor Control Act, “the definition
of ‘party of record’ in § 53-1,115(4) controls for purposes
of the APA’s requirement that ‘[a]ll parties of record shall be
made parties to the proceedings for review’ in a review of the
Commission’s proceedings.” Kozal v. Nebraska Liquor Control
Comm., 297 Neb. at 948, 902 N.W.2d at 155. It follows that
the definition provided by the Nebraska Liquor Control Act
in Neb. Rev. Stat. § 53-1,115(4) (Cum. Supp. 2018) “is the
controlling definition of ‘party of record’ for purposes of APA
review of the Commission’s proceedings.” Kozal v. Nebraska
Liquor Control Comm., 297 Neb. at 948, 902 N.W.2d at
155-56. Accord Retroactive, Inc. v. Nebraska Liquor Control
Comm., supra.
   Turning to the statutory definition, § 53-1,115(4) provides:
         For purposes of this section, party of record means:
         (a) In the case of an administrative proceeding before
      the commission on the application for a retail, bottle club,
      craft brewery, or microdistillery license:
         (i) The applicant;
         (ii) Each individual protesting the issuance of such
      license pursuant to subdivision (1)(b) of section 53-133;
         (iii) The local governing body if it is entering an
      appearance to protest the issuance of the license or if it
      is requesting a hearing pursuant to subdivision (1)(c) of
      section 53-133; and
         (iv) The commission.
   There is no dispute that some number of individuals pro-
tested the issuance of the license to Candyland. The district
court did not err when it concluded that for purposes of
§ 84-917(2)(a)(i), protestants or citizen objectors were parties
of record. See § 53-1,115(4).
Dismissal for Failure to Serve Citizen
Objectors Was Not Error.
   [3] It is well settled that for a district court to acquire juris-
diction to review a final decision of an administrative agency
under the APA, the appellant must file the petition and serve
                              - 174 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
     CANDYLAND, LLC v. NEBRASKA LIQUOR CONTROL COMM.
                       Cite as 306 Neb. 169
summons. See, J.S. v. Grand Island Public Schools, 297 Neb.
347, 899 N.W.2d 893 (2017); Northern States Beef v. Stennis,
2 Neb. App. 340, 509 N.W.2d 656 (1993).
   In its December 2018 order, the district court denied
Candyland’s motion to serve citizen objectors by publica-
tion, but according to the court’s later order of May 3, 2019,
it recognized that it had erroneously believed in December
2018 that the citizen objectors were not “necessary parties.”
To the extent that the district court had dismissed the citizen
objectors in December and thereby purportedly acquired juris-
diction by virtue of a timely filed petition and service on the
Commission and the City of Omaha, such order was a nullity.
A court cannot create or confer jurisdiction in itself. See State
v. Lotter, 301 Neb. 125, 917 N.W.2d 850 (2018), cert. denied
___ U.S. ___, 139 S. Ct. 2716, 204 L. Ed. 2d 1114 (2019).
Further, even if service by publication could be appropri-
ate, about which we make no comment, the motion was not
accompanied by a showing by affidavit required by Neb. Rev.
Stat. § 25-517.02 (Reissue 2016), and therefore the motion for
service by publication was properly denied.
   With respect to proper service on the citizen objectors,
there has been considerable discussion in this appeal regarding
the time during which Candyland was required to serve the
citizen objectors. In their appellate briefs, the parties asserted
that Candyland was required to serve the citizen objectors
within 30 days of filing the petition. However, at oral argu-
ment, the Commission asserted that Candyland had 180 days
to serve the citizen objectors, in accordance with Neb. Rev.
Stat. § 25-217 (Reissue 2016). This assertion caused this court
to order supplemental briefing, the result of which was that
the Commission asserted service was required in 180 days,
the City of Omaha asserted 30 days, and Candyland asserted
180 days.
   The time by which Candyland was required to serve the citi-
zen objectors is controlled by the APA. Section 84-917(2)(a)(i)
of the APA provides as follows:
                              - 175 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
     CANDYLAND, LLC v. NEBRASKA LIQUOR CONTROL COMM.
                       Cite as 306 Neb. 169
      Proceedings for review shall be instituted by filing a peti-
      tion in the district court of the county where the action
      is taken within thirty days after the service of the final
      decision by the agency. All parties of record shall be
      made parties to the proceedings for review. If an agency’s
      only role in a contested case is to act as a neutral fact-
      finding body, the agency shall not be a party of record.
      In all other cases, the agency shall be a party of record.
      Summons shall be served within thirty days of the fil-
      ing of the petition in the manner provided for service of
      a summons in section 25-510.02. If the agency whose
      decision is appealed from is not a party of record, the
      petitioner shall serve a copy of the petition and a request
      for preparation of the official record upon the agency
      within thirty days of the filing of the petition. The court,
      in its discretion, may permit other interested persons
      to intervene.
(Emphasis supplied.) Neb. Rev. Stat. § 25-510.02 (Reissue
2016), to which reference is made in § 84-917(2)(a)(i), per-
tains to the manner of service on governmental entities. The
citizen objectors, of course, are nongovernmental entities.
   Section 84-917(2)(a)(i) has undergone numerous revisions
and amendments and has received considerable treatment in
appellate cases, each of which has tried to make sense of the
statute as it existed at the time of its application to the case
under review. See, e.g., Leach v. Dept. of Motor Vehicles,
213 Neb. 103, 327 N.W.2d 615 (1982) (approving 180 days);
Northern States Beef v. Stennis, 2 Neb. App. 340, 509 N.W.2d
656 (1993) (approving 30 days and rejecting 180 days).
   The Tax Equalization and Review Commission appeal
statutes are modeled after the APA. Neb. Rev. Stat.
§ 77-5019(2)(a) (Reissue 2018) contains language roughly
equivalent to § 84-917(2)(a)(i). In Cargill Meat Solutions v.
Colfax Cty. Bd. of Equal., 281 Neb. 93, 97, 798 N.W.2d 823,
826 (2011), we stated that § 25-510.02 “provides the man-
ner for serving the state or political subdivision. Obviously,
                              - 176 -
          Nebraska Supreme Court Advance Sheets
                   306 Nebraska Reports
     CANDYLAND, LLC v. NEBRASKA LIQUOR CONTROL COMM.
                       Cite as 306 Neb. 169
[the plaintiff], a private corporation, is not an entity covered
by § 25-510.02. [The plaintiff] cannot possibly be served
in accordance with § 77-5019(2)(a), so it cannot apply.” In
Cargill Meat Solutions, because the county board filed its
notice of appeal with the Nebraska Court of Appeals rather
than with the Tax Equalization and Review Commission,
appellate jurisdiction was never conferred under either party’s
theory of the applicable statutes and the 30-day issue—and
manner of service issue—was not resolved. Nevertheless, the
Cargill Meat Solutions opinion concludes as follows:
        Summing up, one thing has become abundantly clear—
     the Legislature has inadvertently created a procedural
     minefield. Section 77-5019(2)(a) does not make sense.
     The statute states ‘[s]ummons shall be served on all par-
     ties . . . in the manner provided for serv­ice of a summons
     in section 25-510.02.’ As mentioned, § 25-510.02 governs
     service of process on a state or political subdivision.
     But not all parties to a [Tax Equalization and Review
     Commission] hearing or a subsequent appeal are politi-
     cal subdivisions. It defies the language of § 25-510.02 to
     require a county board of equalization to serve a private
     party, such as [the plaintiff], as if it were a political sub-
     division. In effect, the current version of § 77-5019(2)(a)
     leads to two different means for perfecting an appeal
     based upon the [party’s] status. We can think of no sen-
     sible reason for doing this.
        As [the plaintiff] points out in its brief, the previous
     version of § 77-5019(2)(a) required that summons be
     served “in the manner provided for service of a sum-
     mons in a civil action.” This language was workable.
     It provided the flexibility to allow a corporation to be
     served as a corporation, [Neb. Rev. Stat. § 25-509.01     (Reissue 2016),] an individual to be served as an indi-
     vidual, [§ 25-508.01,] and a political subdivision to be
     served as a political subdivision[, § 25-510.02]. Stating
                             - 177 -
         Nebraska Supreme Court Advance Sheets
                  306 Nebraska Reports
     CANDYLAND, LLC v. NEBRASKA LIQUOR CONTROL COMM.
                       Cite as 306 Neb. 169
      the obvious, the Legislature needs to correct this proce-
      dural trap.
281 Neb. at 98, 798 N.W.2d at 826.
   [4] Failing clarity by the Legislature, we believe that serv­
ice on nongovernmental entities under § 84-917(2)(a)(i) is
required “within thirty days of the filing of the petition.” With
respect to the 30-day provision, we agree with the reasoning of
Northern States Beef v. Stennis, which stated:
      We find that the plain meaning of the statute requires
      that summons be served within 30 days of the filing
      of the petition in order to perfect an appeal under the
      [APA]. We conclude that the Legislature intended that
      service be effected in 30 days and not 6 months as pro-
      vided in § 25-217.
         If the service of a summons within 30 days is not
      jurisdictional, then 30-day service of summons has no
      reason for being included in § 84-917(2)(a). We therefore
      hold that in order to perfect an appeal under the [APA],
      the party instituting the proceedings for review must file
      a petition in the district court for the county where the
      action is taken within 30 days after the service of the
      final decision by the agency, and cause summons to be
      served within 30 days of the filing of the petition.
2 Neb. App. at 340, 345-46, 509 N.W.2d at 659. Although the
statute considered in Northern States Beef v. Stennis, supra,has since been amended with respect to the manner of service,
the 30-day requirement has remained in the statute throughout
subsequent revisions, including the version applicable to this
case, which we have quoted above. See, also, § 84-917(2)(a)
(Cum. Supp. 1992) (providing that summons “shall be served
within thirty days of the filing of the petition in the manner
provided for service of a summons in a civil action”).
   In this case, it was undisputed that Candyland did not serve
the citizen objectors within 30 days of filing the petition. The
district court lacked jurisdiction. The district court’s decision
to dismiss the petition for review was correct.
                              - 178 -
          Nebraska Supreme Court Advance Sheets
                   306 Nebraska Reports
     CANDYLAND, LLC v. NEBRASKA LIQUOR CONTROL COMM.
                       Cite as 306 Neb. 169
                         CONCLUSION
   Candyland failed to seek district court review in the mode
and manner provided by the statute. By failing to serve the
summons and a copy of the petition on the citizen objectors
within 30 days, it failed to timely petition for review. The
district court lacked subject matter jurisdiction under the APA.
We likewise lack subject matter jurisdiction, and we dismiss
Candyland’s appeal for lack of jurisdiction.
                                             Appeal dismissed.
   Funke, J., participating on briefs.
   Miller-Lerman, J., concurring.
   I concur in the opinion of the court but write separately to
remark on a too frequent undesirable trend in the process.
   This is one of a number of recent cases in which the State,
appearing here for the Commission, introduced a new theory
for the first time at appellate oral argument. See, e.g., State v.
Vann, ante p. 91, ___ N.W.2d ___ (2020) (Miller-Lerman, J.,
concurring). Ordinarily, an appellate court will not consider
an argument made for the first time on appeal. State v. Kruse,
303 Neb. 799, 931 N.W.2d 148 (2019); Siedlik v. Nissen, 303
Neb. 784, 931 N.W.2d 439 (2019). However, we have recog-
nized that a jurisdictional argument can be tendered for the
first time on appeal. Davis v. State, 297 Neb. 955, 902 N.W.2d
165 (2017). At oral argument, the Commission asserted that
Candyland had 180 days rather than 30 days to serve the non-
governmental parties. Thus, the case required supplemental
briefing, after which the Commission asserted service was
required in 180 days, the City of Omaha asserted 30 days, and
Candyland asserted 180 days.
   In my view, it is more respectful of the adversarial and
judicial process to raise a critical issue at the first opportunity
and throughout the proceedings, rather than at the last appear-
ance of the case.
